Case 2:20-cv-02600-SHL-tmp Document 93 Filed 01/26/21 Page 1 of 6                  PageID 757




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

 FUSION ELITE ALL STARS, et al.,
        Plaintiffs,
                                                          Case No. 2:20-cv-02600-SHL-cgc
 v.
                                                          Jury Trial Demanded
 VARSITY BRANDS, LLC, et al.,
        Defendants.



 AMERICAN SPIRIT AND CHEER
 ESSENTIALS, INC., et al.,
        Plaintiffs,                                       Case No. 2:20-cv-02782-SHL-atc
 v.                                                       Jury Trial Demanded
 VARSITY BRANDS, LLC, et al.,
        Defendants.


 JESSICA JONES, et al.,
        Plaintiffs,
                                                          Case No. 2:20-cv-02782-SHL-atc
 v.
                                                          Jury Trial Demanded
 VARSITY BRANDS, LLC, et al.,
        Defendants.



   ORDER ESTABLISHING PLAINTIFFS’ DISCOVERY COORDINATION COMMITTEE


       Before the Court are a Status Report on Pending Motion to Appoint Interim Lead

Counsel and on Coordination of Discovery, submitted to the Court via email but filed on the

docket by the Court in American Spirit and Cheer Essentials, No. 20-2782, a Stipulation and

[Proposed] Order Establishing a Plaintiffs’ Discovery Coordination Committee, submitted to the


                                               1
Case 2:20-cv-02600-SHL-tmp Document 93 Filed 01/26/21 Page 2 of 6                           PageID 758




Court via email but filed on the docket by the Court in Fusion Elite, No. 20-2600, American

Spirit, No. 20-2782, and Jones, No. 20-2892, and a Notice of Stipulation and [Proposed] Order

Establishing a Plaintiffs Discovery Coordination Committee, filed in Jones, No. 20-2892. All

three documents were provided to Defendants, according to the certificates of service attached to

each, and Defendants have not indicated any opposition to the relief sought.

         In their Stipulation, Plaintiffs’ counsel first outlined the status of the pending cases:

                 WHEREAS, Fusion Elite All Stars, et al. v. Varsity Brands, LLC, et al. (the

         “Fusion Action”) 1 was filed in this Court on August 13, 2020, and Kathryn Anne

         Radek, et al. v. Varsity Brands, LLC, et al. (the “Radek Action”) 2 was filed in this

         Court on August 25, 2020, with both cases being proposed antitrust class actions

         brought under federal antitrust law on behalf of proposed classes of persons and

         entities, mainly parents and All Star Gyms, buying certain goods and services

         relating to All Star Cheer and All Star Apparel directly from Varsity;

                 WHEREAS, on September 18, 2020, the Court consolidated the Fusion

         Elite and Radek Actions, appointed Berger Montague PC, Cuneo Gilbert &

         LaDuca, LLP and Labaton Sucharow LLP as interim Co-Lead Class Counsel for a

         proposed class of all persons who directly paid Varsity or any Varsity subsidiary

         for registration, entrance, or other fees and expenses associated with participation

         by All Star Teams or Cheerleaders in one or more All Star Competitions and/or All

         Star Apparel (“Direct Purchaser Class”), and appointed J. Gerard Stranch of




1
    2:20-cv-02600-SHL-cgc (W.D. Tenn.).
2
    2:20-cv-02649-SHL-atc (W.D. Tenn.).

                                                    2
Case 2:20-cv-02600-SHL-tmp Document 93 Filed 01/26/21 Page 3 of 6                         PageID 759




         Branstetter, Stranch & Jennings PLLC as Liaison Counsel for the Direct Purchaser

         Class on that date; 3

                 WHEREAS, on October 27, 2020, American Spirit and Cheer Essentials,

         Inc., et al. v. Varsity Brands, LLC, et al. (the “American Spirit Action”) was

         transferred to this Court from the United States District Court for the Northern

         District of Georgia, 4 that case being a proposed class action under federal antitrust

         law and federal and state RICO laws on behalf of four proposed classes: (1) a

         proposed class of parents who bought certain goods and services 5 either directly or

         indirectly from Varsity; (2) a proposed class of Varsity’s potential and actual

         competitors in the cheerleading event production market; (3) a proposed class of

         Varsity’s potential and actual competitors in the cheerleading camp market; and (4)

         a proposed class of Varsity’s potential and actual competitors in the apparel, athletic

         equipment, and cheer merchandise markets;

                 WHEREAS, on November 3, 2020, counsel in the American Spirit Action

         sought to be appointed Interim Co-Lead Class Counsel of the classes defined in that

         complaint, but not on behalf of direct purchasing All Star Gyms (which Gyms are

         Plaintiffs and part of the proposed classes in the Fusion Elite action); 6




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    2:20-cv-02600-SHL-cgc (W.D. Tenn.), ECF No. 37.
4
    2:20-cv-02782-SHL-atc (W.D. Tenn.), ECF No. 56.
5
 The goods and services listed in the class definition include “uniforms, competition fees, event
admission fees, camp fees, insurance, travel and accommodation fees, school paraphernalia such
as class rings, yearbooks, graduation caps and gowns or graduation announcements, or
merchandise.” Id. at ECF No. 1, ¶279(b).
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    2:20-cv-02782-SHL-atc (W.D. Tenn.), ECF No. 64.

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Case 2:20-cv-02600-SHL-tmp Document 93 Filed 01/26/21 Page 4 of 6                         PageID 760




                WHEREAS, on December 10, 2020, Jessica Jones, et al. v. Varsity Brands,

         LLC, et al. (the “Jones Action”) was filed in this Court, as a proposed antitrust class

         action under the laws of multiple states (for damages) and federal antitrust law (for

         injunctive relief), on behalf of a proposed class of those who paid Varsity indirectly

         for fees associated with Varsity Cheer competitions, Varsity camps, apparel, and

         other goods and services (“Indirect Purchaser Classes”); 7

                WHEREAS, counsel in the Jones Action seek to be appointed interim Co-

         Lead Counsel for the Indirect Purchaser Classes;

                WHEREAS, plaintiffs in all three cases have sued Varsity and USASF;

                WHEREAS, plaintiffs in the Jones Action have additionally sued Jeff

         Webb, Charlesbank Capital Partners LLC and Bain Capital Private Equity, and

         plaintiffs in the American Spirit Action have, in addition to these parties, also sued

         BSN Sports, LLC; Stanbury, LLC; Herff Jones, LLC; and USA Federation for

         Sport Cheering, d/b/a USA Cheer (as well as additional Varsity entities unnamed

         in the other two cases);

                WHEREAS, each of the three cases is brought on behalf of largely non-

         overlapping proposed classes of persons and entities whose interests may come into

         conflict, and who may need or desire to take different positions, and thus must not

         be consolidated, and should continue to have distinct sets of counsel;

                WHEREAS, all three cases nonetheless assert certain common claims and

         allegations, and will involve some of the same discovery from some of the same

         defendants and third parties; and


7
    2:20-cv-02892-SHL-cgc (W.D. Tenn.).

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Case 2:20-cv-02600-SHL-tmp Document 93 Filed 01/26/21 Page 5 of 6                    PageID 761




              WHEREAS, it would serve the interests of justice and efficiency for all

      three cases to coordinate discovery as much as is reasonably feasible;

              WHEREAS, having been shown this Stipulation and Proposed Order,

      Defendants’ counsel have indicated their support for the relief requested below;

(ECF No. 44 at PageID 192, 2:20-cv-02892-SHL-cgc (W.D. Tenn.).)

      Based on the agreed coordination among Plaintiffs and their counsel, with no opposition

from Defendants, the following is hereby ORDERED:

   1. The Court creates a Plaintiffs’ Discovery Coordination Committee for the purpose of

      coordinating discovery across the three cases to the extent reasonably feasible.

   2. Plaintiffs’ Discovery Coordination Committee shall be composed of one counsel from

      each Plaintiff group (Fusion Elite, American Spirit, and Jessica Jones).

   3. The Court hereby appoints Benjamin Gastel (Fusion Elite), Robert Falanga (American

      Spirit), and Van D. Turner (Jones) to the Plaintiffs’ Discovery Coordination Committee.

   4. The responsibilities of the Plaintiffs’ Discovery Coordination Committee shall include, to

      the extent reasonably feasible: (a) coordinating across the three cases on the scheduling

      of depositions with Defendants and third parties to minimize duplication of deponents

      and questions at depositions; (b) coordinating across the three cases on written discovery

      to minimize duplication and redundancy; (c) coordinating across the three cases on any

      protocols or orders governing discovery in the three cases; and (d) providing a liaison for

      the Court and the Defendants to communicate with for scheduling and discovery issues

      that might concern all three cases.




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Case 2:20-cv-02600-SHL-tmp Document 93 Filed 01/26/21 Page 6 of 6     PageID 762




   IT IS SO ORDERED, this 26th day of January, 2021.

                                       s/ Sheryl H. Lipman
                                       SHERYL H. LIPMAN
                                       UNITED STATES DISTRICT JUDGE




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